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Case 3:19-mj-00077-BT Document 8 Filed 05/23/19

3S. DISTR

NORTHERN DISTRICT OF TEXAS
FILED

 

 

IN THE UNITED STATES DISTRICT CbURT | MAY 23 dtis
FOR THE NORTHERN DISTRICT OF T
DALLAS DIVISION

 

 

 

 

 

 

UNITED STATES OF AMERICA

 

No. 3:19-MJ-077-BT
. FILED ECF
SANJAY NANDA
THIRD JOINT MOTION TO CONTINUE TIME TO INDICT
The Government and the Defendant, Sanjay Nanda, again jointly move the Court
to continue for a period of 28 days the date by which an indictment must be filed in this
case. In support of this Joint Motion, the parties would show the Court the following:

1. The Government filed a criminal complaint against the defendant in the Northern
District of Texas on January 25, 2019, alleging violations of 18 U.S.C. § 1343, wire
fraud.

2. The following day, January 26, 2019, Nanda was arrested on the complaint in the
Eastern District of New York when he entered the country. See Dkt. No. 3, at 4. Later
that day Nanda appeared before a Magistrate Judge in the Eastern District of New York,
who ordered Nanda released pending trial subject to a series of terms and conditions. Jd.
at 8-9.

3. The Speedy Trial Act (“the Act”), 18 U.S.C. §§ 3161 —3174, provides that an

indictment must be filed “within thirty days from the date on which [the Defendant] was

arrested . . . in connection with such charges.” Jd. § 3161(b). On February 19, 2019, the

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parties jointly moved this Court to continue the deadline by which an indictment must be
returned in this case for a period of 45 days. Joint Motion to Continue Time to Indict,
Dkt. No. 4. Later that same day, this Court granted the parties’ motion and continued the
deadline for indictment until April 11, 2019. Order, Dkt. No. 5.

4. On April 11, 2019, the parties again jointly requested the Court continue the date
by which the government must present this case to a Grand Jury, this time for a period of
45 days. Second Joint Motion to Continue time to Indict, Dkt. No. 6. Several days later,
this Court again granted the parties’ motion and continued the deadline for indictment
until May 24, 2019. Order, Dkt. No. 7.

5. Since the date of this Court’s last Order, the government has continued to work in
good faith to resolve the case. In particular, the government has made efforts to confirm,
and is continuing to assess the significance of, information the defendant has provided;
and the parties have now resolved certain outstanding issues related to the plea
agreement, and are the process of executing the appropriate plea documents. The parties
believe, therefore, that extending the § 3161(b) deadline will afford them sufficient time
to complete the plea deal, negating the need for a grand jury indictment.

6. Granting this continuance, therefore, will be in the interest of judicial economy,
serve the ends of justice, and would outweigh the interest of the public in a speedy trial.
See 18 U.S.C. § 3161(h)(7)(A). The parties also represent that they do not make this
request in an effort to unduly delay the proceedings, but rather in an effort to insure that

justice is achieved. Failure to grant the requested continuance would deny the parties the

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time necessary for effective preparation, taking into account the exercise of due diligence,
see id. § 3161(h)(7)(B)(iv), and return of an indictment within the time set by this Court’s
April 16, 2019, Order could result in a miscarriage of justice. See id. § 3161(h)(7)(B)G@).

7. The defendant acknowledges that he is aware the Act affords him certain rights,
including, specifically, the right under § 3161(b) to require the government to obtain and
file an indictment on or before the date specified in this Court’s Order dated April 16,
2019. See Dkt. No. 7. He further acknowledges and confirms that, notwithstanding this
provision, he knowingly and intentionally waives any right under § 3161(b) to have an
indictment returned on or before the date specified in the Court’s Order.

[NOTHING FURTHER ON THIS PAGE]

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8. For the reasons set forth above, the parties respectfully request that this Court
continue the date by which an indictment must be filed in this case for an additional 28
days, until on or about June 21, 2019.

Respectfully submitted,

ERIN NEALY COX
UNITED STATES ATTORNEY

AGREED TO BY:

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PAUL YANQWITCH SANJAY NANDA
Assistant Unité \States Attomey Defendant

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ROBERT R. SMITH
Attorney for Defendant

 

 

 

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